  8:08-cr-00177-JFB-TDT       Doc # 42     Filed: 10/03/08    Page 1 of 1 - Page ID # 85




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:08CR177
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
JAMES K. DAN,                                     )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion to continue by defendant James K. Dan
(Dan) (Filing No. 40). Dan seeks a continuance of the trial of this matter which is scheduled
for October 27, 2008. Dan has submitted an affidavit wherein he represents that he
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act (Filing No. 41). Dan’s counsel
represents that government’s counsel has no objection to the motion. Upon consideration,
the motion will be granted.


       IT IS ORDERED:
       1.     Dan's motion to continue trial (Filing No. 40) is granted.
       2.     Trial of this matter is re-scheduled for December 29, 2008, before Chief
Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between
October 3, 2008 and December 29, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 3rd day of October, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
